                            IN THE UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION


IN RE:                              )     CASE NO: 09-36626
                                    )
                                    )
James Majewski                      )     Judge: Mary Ann Whipple
Nichole Majewski                    )
                                    )     OBJECTION TO
            Debtors                 )     CLAIM # 2-1 FILED BY
                                    )     EVERST UNIVERSITY
                                    )
                                    )
                                    )
                                    )     Adrienne M. Hines #0067248
                                    )     502 W. Washington, Street
                                    )     Sandusky, OH 44870
                                    )     (419) 625-7770 Phone
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                                    )     lauriet@ckhlaw.com
____________________________________)___________________________________

       Now come the Debtors, James Majewski and Nichole Majewski, by and through undersigned counsel

and respectfully request that this Court deny Everst University’s, claim #2-1.

                                                     Respectfully Submitted,



                                                     /s/Adrienne M. Hines
                                                     Adrienne M. Hines #0067248
                                                     Attorney for the Debtors




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                              CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of foregoing Objection was served, via regular U.S. Mail, upon the
Chapter 13 Trustee, John Gustafson, 316 N. Michigan Street, Toledo Building #501, Toledo, OH 43624; Everst
University C/O Corinthian Colleges, Inc. Attention Financial Services, PO Box 25117, Santa Ana, CA
92799-5117; the Office of the U.S. Trustee, Howard Metzenbaum U.S. Courthouse, 201 Superior Avenue,
Cleveland, OH 44114; and the Debtors, James and Nichole Majewski, 1274 Delia Avenue, Akron, OH 44320,
on this the 25th day of June, 2010.




                                                   /s/ Adrienne M. Hines
                                                   Adrienne M. Hines #0067248
                                                   Attorney for the Debtors




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